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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

                                Case No. 3:19-cv-478-J-39PDB

CHARLES SIMMONS, individually
and on behalf of those similarly
situated,

       Plaintiff,

v.

BANK OF AMERICA CORPORATION,

      Defendant.
_____________________________________/

         DEFENDANT BANK OF AMERICA, N.A.’S UNOPPOSED MOTION
     FOR EXTENSION OF TIME TO RESPOND TO CLASS ACTION COMPLAINT

       Pursuant to Rule 6(b), Fed. R. Civ. P., and Local Rule 3.1, L.R. M.D. Fla., Defendant

Bank of America, N.A. (“Bank of America”), by and through undersigned counsel, hereby files

this Unopposed Motion for a ten-day extension of time within which to respond to Plaintiff’s

Class Action Complaint. Because good cause exists for the requested extension of time, which

Plaintiff does not oppose, the Court should grant this Unopposed Motion, in further support of

which Bank of America states as follows:

       1.      On April 30, 2019, Bank of America was served with the Summons and Class

Action Complaint in this matter. [ECF No. 1.]

       2.      Bank of America’s response to the Class Action Complaint is currently due on

May 21, 2019. See Fed. R. Civ. P. 12(a)(1)(a)(i).

       3.      Undersigned counsel was just recently retained to represent Bank of America in
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this action. Given this recent retention, as well as the various factual and legal issues raised in

the Class Action Complaint and the press of other professional commitments, Bank of America

seeks a reasonable extension of time of ten days, through and including May 31, 2019, within

which to respond to the Class Action Complaint.

       4.      The requested extension of time is made in good faith, not for purposes of delay,

and will not prejudice any party or the Court. No other enlargements of time have previously

been requested in this case, and Bank of America will not use the granting of this request in

support of a motion to extend another date or deadline.

       For the foregoing reasons, Bank of America respectfully requests that the Court enter an

Order granting this Unopposed Motion and allowing Bank of America a brief extension of time

through and including May 31, 2019 to respond to the Class Action Complaint.

                               RULE 3.01(g) CERTIFICATION

       The undersigned has conferred with counsel for Plaintiff and confirmed that Plaintiff

does not oppose the relief sought in this motion.

Dated: May 10, 2019
                                             Respectfully submitted,

                                             By: /s/ Allen P. Pegg________
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                                                     Attorneys for Defendant Bank of America
                                                     Corporation


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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2019, I electronically filed the foregoing with the Clerk

of Court using CM/ECF. I also certify that the foregoing document is being served this day on

the counsel of record identified below via transmission of Notices of Electronic Filing generated

by CM/ECF.


                                                    By: /s/ Allen P. Pegg________
                                                        Allen P. Pegg
                                                        Fla. Bar No. 597821
                                                        allen.pegg@hoganlovells.com




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